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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

CORTEZ WILLIE SHIELDS,

        Plaintiff,
                                                    Case No. 17-cv-266-wmc
   v.

DANE COUNTY JAIL MENTAL
HEALTH DEPT, DANE COUNTY JAIL
MENTAL HEALTH DEPT, LT. TONY,
SARAH L., CAPT ANNHALT, SARAH
APRIL, DO A C ROUNDS, UNKNOWN
NM, SL, AB, AS, GM and
BRITTANY B. KOCH, now known as
Brittany Lindsley, et al.

        Defendants.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants dismissing this case.




        /s/                                                   10/20/2020
        Peter Oppeneer, Clerk of Court                        Date
